Case 2:10-cr-20635-DML-MKM ECF No. 637, PageID.4884 Filed 04/19/17 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                     Case Number 10-20635
 v.                                                            Honorable David M. Lawson

 JUAN RAMON RESPARDO-RAMIREZ,

                Defendant.

 ___________________________________/

          ORDER DENYING MOTION FOR SENTENCE REDUCTION UNDER
              SECTION 3582(c)(2) PURSUANT TO AMENDMENT 782

        Presently before the Court is the defendant’s motion seeking a reduction of his sentence

 based on a retroactive application of the sentencing guidelines.

        The defendant suggests that he is entitled to a reduction of his sentence under Guideline

 Amendment 782, which lowers the guideline ranges that are based on types and quantities of

 controlled substances in the Drug Quantity Table. U.S.S.G. § 2D1.1(c) (2015). On May 7, 2013,

 a jury found the defendant guilty of conspiracy to possess with intent to distribute and to distribute

 cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(ii) (Count I), kidnapping, aiding

 and abetting, in violation of 18 U.S.C. §§ 1201(a) and 1201(c) (Count VI), and brandishing of a

 firearm in furtherance of and during and in relation to a drug trafficking crime, in violation of 18

 U.S.C. §§ 924(c) and 924(c)(1)(A)(ii) (Count VII). The Court sentenced the defendant to a term of

 imprisonment of 120 months on Counts I and VI to run concurrently to each other, and a term of

 imprisonment of 84 months on Count VII to run consecutive to Counts I and VI. The Court

 sentenced the defendant to 120 months on Count I based on the statutory minimum sentence

 mandated by Congress.
Case 2:10-cr-20635-DML-MKM ECF No. 637, PageID.4885 Filed 04/19/17 Page 2 of 3




         Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is

 imposed only under certain conditions:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission. (emphasis added).

        The defendant is not eligible for a sentence reduction because the defendant’s sentence on

 Count I was based on the statutory minimum rather than U.S.S.G. § 2D1.1(c), which was amended

 by Guideline Amendment 782. United States v. McPherson, 629 F.3d 609, 611 (6th Cir. 2011)

 (holding that the defendant was not eligible for a sentence reduction under 18 U.S.C. § 3582(c)(2)

 because his sentence was subject to a statutory mandatory minimum sentence, which was not

 subsequently reduced and therefore did not lower the defendant’s applicable guideline range); see

 also United States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009) (finding that the defendant was not

 entitled to a reduced sentence under 18 U.S.C. § 3582(c)(2) “because he was not in fact sentenced

 based on a Guidelines range that was subsequently reduced”).

        Accordingly, it is ORDERED that the defendant’s motion for sentence reduction under

 section 3582(c)(2) pursuant to Amendment 782 [dkt. #603] is DENIED.


                                                s/David M. Lawson
                                                DAVID M. LAWSON
                                                United States District Judge

 Dated: April 19, 2017




                                                  -2-
Case 2:10-cr-20635-DML-MKM ECF No. 637, PageID.4886 Filed 04/19/17 Page 3 of 3




                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on April 19, 2017.

                                                     s/Susan Pinkowski
                                                     SUSAN PINKOWSKI




                                                     -3-
